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                                                              CHIESA SHAHINIAN & GIANTOMASI PC

                                                                               ONE BOLAND DRIVE
                                                                            WEST ORANGE, NJ 07052




                                                                            A. ROSS PEARLSON
                                                                           rpearlson@csglaw.com
                                                                                 (O) 973.530.2100
                                                                                  (F) 973.530.2300




                                       September 10, 2021




 Via ECF
 Honorable Michael A. Hammer, U.S.M.J.
 United States District Court
 District of New Jersey
 Martin Luther King Building & U.S. Courthouse
 50 Walnut Street – Room 4015
 Newark, NJ 07101

 RE: Aleynikov v. The Goldman Sachs Group, Inc., Civil Action No. 2:12-cv-05994-KM-MAH

 Dear Judge Hammer:

         This firm represents Defendant and Counter Claimant The Goldman Sachs Group,
 Inc. and Counter Defendant Goldman, Sachs & Co. in connection with the above-captioned
 matter.

        Pursuant to Local Civil Rule 101.1(c)(5) and 102.1, we respectfully request Your
 Honor’s approval of the withdrawal of Karen A. Chesley as pro hac vice counsel for The
 Goldman Sachs Group, Inc. and Goldman Sachs & Co. LLC (f/k/a Goldman, Sachs & Co.)
 (together, “Goldman Sachs”), and further request that Your Honor direct the clerk to remove
 Ms. Chesley from electronic noticing in this matter. Ms. Chesley was admitted pro hac
 vice by the Court’s Order dated May 2, 2017 (D.E. 359). Goldman Sachs will continue to




          NEW JERSEY                                                     NEW YORK

                                                                                  4846-7205-3242.v1
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 be represented in this action by the undersigned and Melissa Wernick of Chiesa Shahinian
 & Giantomasi PC, and by Christopher E. Duffy of Vinson & Elkins LLP.

        If Your Honor approves, we respectfully request that Your Honor “So Order'” this letter
 and have it filed on the docket.

        Thank you for your consideration.

                                             Respectfully submitted,


                                             /s/A. Ross Pearlson
                                             A. Ross Pearlson


 ARP:dvb

 cc: All Counsel of Record (via ECF)




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